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             1.        The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                       Services Office and Second Amended General Order 20-04.

             2.        During the period of community supervision, the defendant shall pay the special assessment in
                       accordance with this judgment's orders pertaining to such payment.

             3.        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
                       submit to one drug test within 15 days of release from custody and at least two periodic drug tests
                       thereafter, not to exceed eight tests per month, as directed by the Probation Officer.


             4.        The defendant shall participate in an outpatient substance abuse treatment and counseling program that
                       includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant
                       shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the
                       period of supervision.

             5.        During the course of supervision, the Probation Officer, with the agreement of the defendant and
                       defense counsel, may place the defendant in a residential drug treatment program approved by the U.S.
                       Probation and Pretrial Services Office for treatment of narcotic addiction or drug dependency, which
                       may include counseling and testing, to determine if the defendant has reverted to the use of drugs. The
                       defendant shall reside in the treatment program until discharged by the Program Director and Probation
                       Officer.

             6.        The defendant shall cooperate in the collection of a DNA sample from the defendant.

             7.        The defendant shall participate in a mental health treatment, which may include evaluation and
                       counseling, until discharged from the program by the treatment provider, with the approval of the
                       Probation Officer.

        The Court orders defendant to self-surrender by noon on July 8, 2024, to the facility designated by the Bureau
        of Prisons. In the absence of such designation, the defendant shall report on or before the same date and
        time, to the United States Marshal located at 3470 Twelfth Street, Riverside, CA 92501.

        The Court recommends the defendant be designated to a facility in Southern California.

        The bond shall be exonerated upon surrender.

        Defendant is informed of his right to appeal.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
 of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.




            April 29, 2024
            Date                                                  Jesus G. Bernal, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            April 29, 2024                                  By
            Filed Date                                            Rachel Maurice/M. Galvez, Deputy Clerks




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                      STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                      While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal,              9.  The defendant must not knowingly associate with
       state, or local crime;                                          any persons engaged in criminal activity and must
 2.    The defendant must report to the probation office in            not knowingly associate with any person convicted
       the federal judicial district of residence within 72            of a felony unless granted permission to do so by
       hours of imposition of a sentence of probation or               the probation officer. This condition will not apply
       release from imprisonment, unless otherwise                     to intimate family members, unless the court has
       directed by the probation officer;                              completed an individualized review and has
 3.    The defendant must report to the probation office as            determined that the restriction is necessary for
       instructed by the court or probation officer;                   protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the                  10. The defendant must refrain from excessive use of
       judicial district without first receiving the                   alcohol and must not purchase, possess, use,
       permission of the court or probation officer;                   distribute, or administer any narcotic or other
 5.    The defendant must answer truthfully the inquiries              controlled substance, or any paraphernalia related
       of the probation officer, unless legitimately                   to such substances, except as prescribed by a
       asserting his or her Fifth Amendment right against              physician;
       self-incrimination as to new criminal conduct;              11. The defendant must notify the probation officer
 6.    The defendant must reside at a location approved by             within 72 hours of being arrested or questioned by
       the probation officer and must notify the probation             a law enforcement officer;
       officer at least 10 days before any anticipated             12. For felony cases, the defendant must not possess a
       change or within 72 hours of an unanticipated                   firearm, ammunition, destructive device, or any
       change in residence or persons living in defendant’s            other dangerous weapon;
       residence;                                                  13. The defendant must not act or enter into any
 7.    The defendant must permit the probation officer to              agreement with a law enforcement agency to act as
       contact him or her at any time at home or elsewhere             an informant or source without the permission of
       and must permit confiscation of any contraband                  the court;
       prohibited by law or the terms of supervision and           14. The defendant must follow the instructions of the
       observed in plain view by the probation officer;                probation officer to implement the orders of the
 8.    The defendant must work at a lawful occupation                  court, afford adequate deterrence from criminal
       unless excused by the probation officer for                     conduct, protect the public from further crimes of
       schooling, training, or other acceptable reasons and            the defendant; and provide the defendant with
       must notify the probation officer at least ten days             needed educational or vocational training, medical
       before any change in employment or within 72                    care, or other correctional treatment in the most
       hours of an unanticipated change;                               effective manner.




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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